               Case: 20-30205, 10/13/2020,
        Case 4:18-cr-06054-EFS             ID: 11857151,
                                 ECF No. 259               DktEntry:
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                                     Office of the Clerk
                    United States Court of Appeals for the Ninth Circuit
                                   Post Office Box 193939
                            San Francisco, California 94119-3939
                                        415-355-8000
Molly C. Dwyer
Clerk of Court                          October 13, 2020


       No.:         20-30205
       D.C. No.: 4:18-cr-06054-EFS-1
       Short Title: USA v. Sami Anwar


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.
        Case: 20-30205, 10/13/2020,
 Case 4:18-cr-06054-EFS             ID: 11857151,
                          ECF No. 259               DktEntry:
                                          filed 10/13/20      1-1, Page 2 Page
                                                          PageID.3896     of 3 2 of 3




                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      OCT 13 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 20-30205

               Plaintiff - Appellee,
                                                D.C. No. 4:18-cr-06054-EFS-1
   v.                                           U.S. District Court for Eastern
                                                Washington, Richland
 SAMI ANWAR,
                                                TIME SCHEDULE ORDER
               Defendant - Appellant.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., November 3, 2020        Transcript shall be ordered.
Thu., December 3, 2020        Transcript shall be filed by court reporter.
Tue., January 12, 2021        Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Thu., February 11, 2021       Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
        Case: 20-30205, 10/13/2020,
 Case 4:18-cr-06054-EFS             ID: 11857151,
                          ECF No. 259               DktEntry:
                                          filed 10/13/20      1-1, Page 3 Page
                                                          PageID.3897     of 3 3 of 3

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Jessica Poblete Dela Cruz
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
